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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                                                :
              v.                                :          Crim No. 1:21-cr-00119-CJN
                                                :
                                                :
GARRET MILLER,                                  :
                                                :
                    Defendant.                  :

                GOVERNMENT’S RESPONSE TO DEFENDANT’S
    MOTION DISMISS COUNT THREE OF THE THIRD SUPERSEDING INDICTMENT

        The United States of America (the “government”), files its response to the Defendant’s

Motion to Dismiss Count Three of the Third Superseding Indictment (ECF No. 114) as follows:

        In February 2021, the grand jury returned a twelve-count indictment against Garret Miller

alleging violations of 18 U.S.C. § 231(a)(3) (Counts 1 and 2), 18 U.S.C. § 1512(c)(2) and 2

(Count 3); 18 U.S.C. § 111(a)(1) (Count 4); 18 U.S.C. § 875(c) (Counts 5 and 6); 18 U.S.C. §

1752(a)(1)-(3) (Count 7-9); 40 U.S.C. § 5104(e)(2)(D) (Count 10); 40 U.S.C. § 5104(e)(2)(E)

(Count 11); and 40 U.S.C. § 5104(e)(2)(G) (Count 12).1

        In June 2021, Miller filed a Motion to Dismiss Count Three of the Indictment, charging a

violation of 18 U.S.C. § 1512(c)(2) and 2. ECF No. 34. Following briefing from both parties,

the Court Granted Miller’s Motion and issued a Memorandum Opinion on March 7, 2022. ECF

No. 72. The Court denied the government’s Motion for Reconsideration, and the government

filed an interlocutory appeal. ECF No. 88.




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  Miller was subsequently charged in two Superseding Indictments, but those indictments do not
affect the analysis for the count alleging a violation of § 1512(c)(2). See ECF Nos. 61.
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       The Court set Miller’s remaining counts for trial on December 8, 2022. See Scheduling

Order, ECF No. 109, at 1. On November 2, 2022, the grand jury returned a third superseding

indictment, adding an additional violation of 18 U.S.C. § 231(a)(3). ECF No. 111. The new

indictment contained the exact same Count Three charge and language–the violation 18 U.S.C. §

1512(c)(2) and 2–as the prior Count Three dismissed by this Court. Compare ECF Nos. 61 and

111. “Out of an abundance of caution,” Miller has renewed his motion to dismiss Count Three.

Defendant’s Motion at 1.

       The Court’s prior ruling on this issue serves as law of the case. Nevertheless, the

government opposes Miller’s dismissal motion for the reasons already given in prior briefing and

argument, which we ask the Court to incorporate for purposes of this response. See ECF Nos.

35, 60, 63, 74, 75, 82-85; see also 11/22/2022 Minute Entry.



                                                    Respectfully submitted,

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                                                    United States Attorney
                                                    D.C. Bar Number 481052

                                            By:     ____________________________
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                                      Certificate of Service

       I, Stephen J. Rancourt, certify that on November 10, 2022, I caused a copy of the to be

served on counsel of record via electronic filing.




                                              Stephen J. Rancourt
                                              Assistant United States Attorney




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